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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                           IN THE UNITED STATES DISTRICT COURT                      February 21, 2022
                           FOR THE SOUTHERN DISTRICT OF TEXAS                       Nathan Ochsner, Clerk
                                     HOUSTON DIVISION


    BENITA LEWIS HEIR TO BINDA                       §
    LEWIS, DECEASED                                  §
      Plaintiff,                                     §
                                                     §
    v.                                               §
                                                     §
    DEUTSCHE BANK NATIONAL                           §
    TRUST COMPANY, AS TRUSTEE                        §
    FOR MORGAN STANLEY DEAN                          §          CIVIL ACTION NO. 4:21-cv-02348
    WITTER CAPITAL I INC. TRUST                      §
    2003-NC2, MORTGAGE PASS-                         §
    THROUGH CERTIFICATES, SERIES                     §
    2003-NC-2, AND PHH MORTGAGE                      §
    CORPORATION,                                     §
       Defendants.                                   §



                                       FINAL JUDGMENT


         Pursuant to Rule 58 of the Federal Rules of Civil Procedure and in accordance with the

Agreed Order of Dismissal with Prejudice, it is

         ORDERED, ADJUDGED, AND DECREED that all claims Benita Lewis, Heir to Binda

Lewis, Deceased (“Plaintiff”) asserted, or could have asserted, against Defendants Deutsche Bank

National Trust Company, as Trustee for Morgan Stanley Dean Witter Capital I Inc. Trust 2003-

NC2, Mortgage Pass-Through Certificates, Series 2003-NC2 (Deutsche Bank”) and PHH

Mortgage Corporation (“PHH”) (together “Defendants”) in this lawsuit are hereby DISMISSED

WITH PREJUDICE; it is further

         ORDERED, ADJUDGED, AND DECREED that all costs, expenses, and attorney fees

are taxed against the party incurring same; and it is further

         ORDERED, ADJUDGED, AND DECREED that this is a FINAL JUDGMENT as to


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all claims that Plaintiff asserted, or could have asserted, against Defendants in this lawsuit.

        All relief not previously granted is hereby DENIED.

        SO ORDERED.
                     21st day of ______________,
        Signed this _____          February      2022.

                                               ______________________________________
                                               Lee H. Rosenthal
                                               Chief United States District Judge




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